 Case: 1:07-cr-00068-JG Doc #: 95 Filed: 03/26/07 1 of 1. PageID #: 423


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                      :
UNITED STATES OF AMERICA,                             :              CASE NO. 1:07CR00068-002
                                                      :
         Plaintiff,                                   :
                                                      :
vs.                                                   :              ORDER [Resolving Doc. 52]
                                                      :
TEKORA MADDEN,                                        :
                                                      :
         Defendant.                                   :
                                                      :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        This case is before the Court upon the motion of Defendant Madden to sever her trial from

that of her co-defendants. Plaintiff does not oppose the motion.

        Pursuant to Criminal Rule 14A, the Court finds severance appropriate. The Court finds that,

at trial, the Government may seek to introduce Defendant Madden’s extrajudicial statements and

such may implicate Defendant Madden’s co-defendants’ right to confront witnesses against them.

Bruton v. United States, 391 U.S. 123, 137 (1968).

        Thus, the Court GRANTS Defendant Madden’s motion to sever.

        IT IS SO ORDERED.



Dated: March 26, 2007                                           s/       James S. Gwin
                                                                JAMES S. GWIN
                                                                UNITED STATES DISTRICT JUDGE




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